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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHLEEN SYPERT, on behalf of herself
and all others similarly situated,                        Docket No: 1:18-cv-06490-PAE

                             Plaintiffs,
                                                          NOTICE OF SETTLEMENT
                    -against-

CIPRIANI USA, INC.
                             Defendant.


Now comes the Plaintiff KATHLEEN SYPERT, by and through counsel, to provide notice to the

Court that the present cause has been settled between the parties, and state:

   1. A settlement agreement (“Agreement”) is in the process of being finalized. Once the

         Agreement is fully executed, and Plaintiffs have received the consideration required

         pursuant to the Agreement, the parties will submit a Stipulation of Dismissal with

         prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein

         request that the case be dismissed and closed.

   2. The parties respectfully request that the Court stays this case and adjourns all deadlines

         and conferences.

                                                      Respectfully submitted,

                                                      By: ___________________
                                                      Joseph H. Mizrahi, Esq.
                                                      Cohen & Mizrahi LLP
                                                      300 Cadman Plaza West, 12 Fl.
                                                      Brooklyn, New York 11201
                                                      Phone: (929) 575-4175
                                                      Email: joseph@cml.legal
                                                      Attorney for Plaintiff

Dated:     Brooklyn, New York
           October 23, 2018



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